         Case 1:13-cr-00012-MW-GRJ Document 89 Filed 03/21/14 Page 1 of 7


FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                          Page 1 of 7
1:13CR00012-001 - MARCUS CHATMAN

                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                           Case # 1:13CR00012-001

MARCUS CHATMAN
                                                               USM #22097-017

                                                               Defendant’s Attorney:
                                                               David A. Wilson (Appointed)
                                                               201 SE 2nd Street, Suite 101
                                                               Ocala, Florida 34471

___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant was found guilty as to Count 1 of the Indictment on December 19, 2013.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such count which involves
the following offense:

          TITLE/SECTION                                NATURE OF             DATE OFFENSE
             NUMBER                                     OFFENSE               CONCLUDED          COUNT

    18 U.S.C. §§ 922(g)(1) and               Possession of a Firearm by a    January 23, 2013       1
              924(e)                              Convicted Felon

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.


                                                               Date of Imposition of Sentence:
                                                               March 17, 2014


                                                               SO ORDERED on 3/21/14

                                                                s/ Mark E. Walker
                                                               Mark E. Walker
                                                               UNITED STATES DISTRICT JUDGE
         Case 1:13-cr-00012-MW-GRJ Document 89 Filed 03/21/14 Page 2 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                     Page 2 of 7
1:13CR00012-001 - MARCUS CHATMAN

                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of one hundred and eighty (180) months.

The Court recommends to the Bureau of Prisons that the defendant be housed in a facility in, or
as close to, Gainesville, Florida as deemed eligible. The Court also recommends that the defendant
be allowed to participate in RDAP.

The defendant was previously denied bond and is remanded to the custody of the United States
Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
         Case 1:13-cr-00012-MW-GRJ Document 89 Filed 03/21/14 Page 3 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                               Page 3 of 7
1:13CR00012-001 - MARCUS CHATMAN

                                             SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of three (3) years.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

      The defendant shall not possess a firearm, destructive device, or any other dangerous
weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       the defendant shall not leave the judicial district without the permission of the court or probation
         officer;

2.       the defendant shall report to the probation officer in a manner and frequency directed by the court or
         probation officer;

3.       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       the defendant shall support his or her dependents and meet other family responsibilities;

5.       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       the defendant shall notify the probation officer at least 10 days prior to any change in residence or
         employment;

7.       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       the defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       the defendant shall not associate with any persons engaged in criminal activity and shall not associate
         Case 1:13-cr-00012-MW-GRJ Document 89 Filed 03/21/14 Page 4 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                   Page 4 of 7
1:13CR00012-001 - MARCUS CHATMAN
         with any person convicted of a felony unless granted permission to do so by the probation officer;

10.      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
         shall permit confiscation of any contraband observed in plain view of the probation officer;

11.      the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
         law enforcement officer;

12.      the defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the court; and

13.      as directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
         the probation officer to make such notifications and to confirm the defendant’s compliance with such
         notification requirement.

14.      if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
         the Criminal Monetary Penalties sheet of this judgment.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

1.       The defendant shall report in person to the probation office in the district to which he is released within
         72 hours of release from the custody of the Bureau of Prisons.

2.       The defendant shall not own or possess, either directly or constructively, a firearm, ammunition, a
         dangerous weapon, or destructive device.

3.       The defendant shall remain gainfully employed or actively seek employment.

4.       The defendant must successfully participate in substance-abuse treatment consisting of an initial
         evaluation by a probation officer or outside provider and any further appropriate treatment. The
         treatment may include cognitive behavior therapy.
         Case 1:13-cr-00012-MW-GRJ Document 89 Filed 03/21/14 Page 5 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                   Page 5 of 7
1:13CR00012-001 - MARCUS CHATMAN
       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




         Defendant                                                  Date




         U.S. Probation Officer/Designated Witness                  Date
         Case 1:13-cr-00012-MW-GRJ Document 89 Filed 03/21/14 Page 6 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                        Page 6 of 7
1:13CR00012-001 - MARCUS CHATMAN

                                    CRIMINAL MONETARY PENALTIES

         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                Restitution

                  $100                                      NONE                   NONE




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed, and is due in full immediately.

                                                            FINE

                                                            NONE

                                                     RESTITUTION

                                                            NONE
         Case 1:13-cr-00012-MW-GRJ Document 89 Filed 03/21/14 Page 7 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                             Page 7 of 7
1:13CR00012-001 - MARCUS CHATMAN

                                          SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties
in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A): None

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the amount
due. The defendant will receive credit for all payments previously made toward any criminal
monetary penalties imposed.
